             Case 2:08-cr-00427-MCE Document 840 Filed 01/29/14 Page 1 of 2



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   Attorney at Law
 2 428 J St., Suite 350
   Sacramento, CA 95814
 3 (916) 443-7141
 4 Attorney for Defendant
   Derrick Johnson
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 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                           CASE NO. 2:08-cr-00427-MCE
12                                Plaintiff,             STIPULATION AND ORDER
                                                         CONTINUING DATE FOR
13   v.                                                  JUDGMENT AND SENTENCING
14   DERRICK JOHNSON,
                                  Defendant,
15
16
                                               STIPULATION
17
            Defendant Derrick Johnson through his counsel of record, and Plaintiff United States of
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19 America, by and through its counsel of record, hereby stipulate as follows:
20          1.     The court should vacate the sentencing hearing now set on January 30, 2014.

21          2.     A judgment and sentencing hearing shall be scheduled for February 13, 2014 at 9:00
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                   a.m., said matter to be added to the court’s calendar for that date.
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            3.     The hearing shall be conducted by way of video conference, with the defendant
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                   appearing at the United States Pretrial Services office in Omaha, Nebraska. The
25
                   defendant will file a waiver of the right to be personally present at the sentencing
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27                 hearing. The video conference in lieu of the defendant’s appearance in Sacramento is

28                 requested due to the defendant’s medical problems and physical disabilities.
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            Case 2:08-cr-00427-MCE Document 840 Filed 01/29/14 Page 2 of 2


     IT IS SO STIPULATED.
 1
 2
     DATED:     January 27, 2014
 3
 4                                 /s/ Jean Hobler___________________
                                   Assistant United States Attorney
 5
     DATED:     January 27, 2014
 6
 7                                 /s/ Timothy E. Warriner
                                   Counsel for Defendant
 8                                 Derrick Johnson
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                                           ORDER
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12        IT IS SO ORDERED.
13 Dated: January 27, 2014
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